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                                  UNITED STATES DISTRICT COURT
                                        DISTRICT OF MARYLAND



DEBORAH LAUFER, Individually,                             )
                                                          )
             Plaintiff,                                   )
                                                          )
vs.                                                       )       Case No. 20-cv-01973-SAG
                                                          )
BRE/ESA P PORTFOLIO, LLC, A                               )
Maryland Corporation,                                     )
                                                          )
             Defendant.                                   )
                                                          )

               MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                  DEFENDANT’S MOTION TO DISMISS THE COMPLAINT


I.           INTRODUCTION

                     Plaintiff Deborah Laufer ("Plaintiff") initiated this case against Defendant

BRE/ESA P Portfolio, LLC ("Defendant") as one of over 4001 nearly identical ADA lawsuits

filed in Maryland, New York, New Jersey and elsewhere. Defendant owns and/or operates

Extended Stay America hotels nationwide. Courts have taken notice of Plaintiff filing these

identical cases despite lacking subject matter jurisdiction and standing. Plaintiff is a resident

of Florida and never alleges that she visited the state of Maryland, the hotel in question or has

any intent to visit this state of the hotel. There is no concrete harm or risk of immediate future

harm.

                     To satisfy federal pleading requirements, Plaintiff must sufficiently allege facts

which if proven true state a claim upon which relief can be granted. Fed. R. Civ.P. 12(b)(6).



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    See Request for Judicial Notice ISO MTD, Exhibit 1.


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Plaintiff has not done so. Accordingly, the Court should grant Defendant’s Motion to Dismiss

the Complaint pursuant to Federal Rule of Civil Procedure Rule 12(b)(6).

II.          BACKGROUND

                  On July 3, 2020, Plaintiff filed the Complaint against Defendant seeking

injunctive relief and attorneys’ fees for alleged violations of the Americans with Disabilities Act

(“ADA”). Plaintiff is a resident of Pasco County, Florida. Complaint at ¶ 1. Plaintiff alleges

that she uses an assistive device (such as a cane) to walk and decided to be a “tester” for

purposes of ADA compliance. Complaint at ¶ 2. Plaintiff further alleges that she visited certain

third party websites (not websites that Defendant owns or controls), such as expedia.com and

hotels.com, “for the purpose of reviewing and assessing the accessible features at the Property

and ascertain whether they meet the requirements of 28 C.F.R. Section 36.302(e).” Complaint at

¶ 10. Plaintiff found that such third party websites were lacking accessible information about the

property in question located at 104 Chesapeake Center Ct, Glen Bumie, MD 21061 (the “Subject

Property”). Complaint at ¶ 3, 10. Plaintiff, therefore, seeks attorneys’ fees, costs and injunctive

relief. Complaint at ¶ 19-20. Critically, Plaintiff never alleged in the Complaint that she

visited the state of Maryland, the town of Glen Burnie, the Subject Property or has any

plans or intentions of visiting the Subject Property in Maryland. The Complaint does not

allege that Plaintiff has any reason to travel anywhere in Maryland or any reason to seek lodging

anywhere in Glen Burnie.

III.         LEGAL ARGUMENT

             A.   Courts Must Sua Sponte Assess Standing For Subject Matter Jurisdiction

                  “Article III, Section 2 of the Constitution limits the jurisdiction of the federal

courts to the resolution of ‘cases’ and ‘controversies.’ To ensure that this bedrock case-or-

controversy requirement is met, courts require that plaintiffs establish their standing as the proper


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parties to bring suit.’” Sonterra Capital Master Fund Ltd. v. UBS AG, 954 F.3d 529, 533–34 (2d

Cir. 2020) (quoting Langan v. Johnson & Johnson Consumer Cos., 897 F.3d 88, 92 (2d Cir.

2018)).

                  “[I]n our federal system of limited jurisdiction . . . the court sua sponte, at any

stage of the proceedings, may raise the question of whether the court has subject matter

jurisdiction.” United Food & Commercial Workers Union v. CenterMark Props. Meriden

Square, Inc., 30 F.3d 298, 301 (2d Cir. 1994) (internal quotation marks and citation omitted); see

Durant, Nichols, Houston, Hodgson & Cortese-Costa P.C. v. Dupont, 565 F.3d 56, 62 (2d Cir.

2009) (“If subject matter jurisdiction is lacking and no party has called the matter to the court’s

attention, the court has the duty to dismiss the action sua sponte.”). Courts “are required to raise

issues of standing sua sponte if such issues exist.” Bock v. Pressler & Pressler, LLP, 658 F.

App’x 63, 64 (3d Cir. 2016) (citing Steele v. Blackman, 236 F.3d 130, 134 n.4 (3d Cir. 2001)).

“If plaintiffs do not possess Article III standing. . . the District Court. . .lack[s] subject matter

jurisdiction to address the merits of plaintiffs’ case.” Storino v. Borough of Point Pleasant

Beach, 322 F.3d 293, 296 (3d Cir. 2003) (citation omitted).

             B.   Standing Requires Concrete Harm Among Other Elements

                  To establish standing a plaintiff must demonstrate (1) an “injury in fact” that is

“concrete and particularized” and “actual or imminent, not conjectural or hypothetical,” (2) “a

causal connection between the injury and the conduct complaint of,” and (3) redressability of the

injury by a favorable decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–65 (1992). Where “a

case is at the pleading stage, the plaintiff must ‘clearly . . . allege facts demonstrating’ each

element.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (quoting Warth v. Seldin, 422

U.S. 490, 518 (1975)).




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                  “For an injury to be ‘particularized,’ it ‘must affect the plaintiff in a personal and

individual way.’” Spokeo, 136 S. Ct. at 1548 (quoting Lujan, 504 U.S. at 560 n.1). To be

“concrete” an injury “must actually exist”: the injury must be “real” and not “abstract.”

Id. Generally, “even in the context of a statutory violation,” “a bare procedural violation,

divorced from any concrete harm,” does not satisfy the injury-in-fact requirement of

Article III. Id. at 1549–50 (emphasis added - holding that the plaintiff could not satisfy the

demands of Article III by simply alleging that consumer reporting agency disseminated

information in violation of the Fair Credit Reporting Act of 1970: “[a] violation of” a

“procedural requirement[] may result in no harm” and not all “inaccuracies cause harm or

present any material risk of harm”). A “risk of real harm” may “satisfy the requirement of

concreteness.” Id. at 1549 (noting statutes where the violation of a procedural right would be

sufficient because Congress identified harms sufficient to constitute injury in fact). Thus, “the

critical question for standing purposes is ‘whether the particular . . . violations alleged . . . entail

a degree of risk sufficient to meet the concreteness requirement.’” Crupar-Weinmann v. Paris

Baguette Am., Inc., 861 F.3d 76, 80 (2d Cir. 2017) (emphasis in original) (quoting Spokeo, 136

S. Ct. at 1550).

             C.   Injunctive Relief Requires Risk Of Immediate Injury

                  To have standing to seek injunctive relief Plaintiff has the burden of establishing

that she “has sustained or is immediately in danger of sustaining some direct injury as the result

of the challenged . . . conduct.” City of Los Angeles v. Lyons, 461 U.S. 95, 101–02 (1983)

(internal quotation marks and citation omitted); see Kreisler v. Second Ave. Diner Corp., 731

F.3d 184, 187 (2d Cir. 2013) (“Plaintiffs seeking injunctive relief must also prove that the

identified injury in fact presents a ‘real and immediate threat of repeated injury.’” (quoting Shain

v. Ellison, 356 F.3d 211, 215 (2d Cir. 2004)).


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             D.   Plaintiff Here Lacks Standing Because There Is No Concrete Harm

                  Plaintiff is a resident of Florida. Complaint at ¶ 1. Defendant owns the Subject

Property in Glen Burnie, Maryland. Complaint at ¶ 3. There are no facts in the Complaint

indicating that she has ever traveled to Glen Burnie, Maryland, or anywhere in Maryland or has

any plans to do so in the future.

                  Plaintiff alleges that she is a “tester” for the ADA. Complaint at ¶ 2. However,

her status as a “tester” is not sufficient to establish subject matter jurisdiction in this action. See

Griffin v. Dep’t of Labor Fed. Credit Union, 912 F.3d 649, 656 (4th Cir. 2019) (holding that a

plaintiff who was ineligible to be a member of a credit union failed to establish standing to bring

an ADA claim concerning its website because tester status “cannot create standing in the absence

of an otherwise plausible assertion that a return to the website would allow [the plaintiff] to avail

himself of its services”); see also Greenwich Hosp., 536 F. App’x at 155 (finding the plaintiff’s

“assertion that he visits public accommodations as an ADA ‘tester’” failed to establish standing

as it lacked “the requisite link to Stamford, Connecticut”—the location of the defendant’s

Hampton Inn).

                  Multiple courts have taken notice of these types of spam style ADA lawsuits

without the requisite standing. Such courts have dismissed nearly identical cases or filed orders

to show cause sua sponte regarding whether standing and subject matter jurisdiction exists. For

example, the court in Laufer v. Laxmi & Sons, LLC, 1:19-cv-01501-BKS-ML, 2020 U.S. Dist.

LEXIS 79545 (N.D.N.Y. May 6, 2020), involving the same Plaintiff as the case at hand (Laufer),

issued a sua sponte Memorandum-Decision and Order regarding Plaintiff’s lack of standing,

stating “There are no facts in the Complaint or Plaintiff’s affidavit indicating that she has ever

traveled to Rensselaer, New York, or anywhere in New York, or that she has any reason to travel

anywhere in New York or any reason to seek lodging anywhere in New York.” Id. Doc #15 at p.


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7. The court went on to say “the Court questions whether the Plaintiff has established standing,

in accord with Spokeo, Kreisler, and Deeper Life Christian Fellowship, Inc, and thus whether the

Court has subject matter jurisdiction over this action.” Id. Doc #15 at p. 9.

             Other courts have taken notice of Plaintiff’s abuse of litigation as well. For example, in

Laufer v. 1110 Western Albany, LLC, Case No. 1:19-cv-01324-BKS-ML, 2020 U.S. Dist. LEXIS

81128 (N.D.N.Y. May 7, 2020), the Court issued an Order on May 7, 2020 noting that “Plaintiff

Deborah Laufer, a Florida resident … has 29, nearly identical, cases pending against different

defendants in the Northern District of New York.” Id. Doc # 21 at p. 1. The court went on to

find that “There appears to be a serious question as to whether Plaintiff has established

standing, in this, or any of her other cases, and thus whether the Court has subject matter

jurisdiction over these actions.” Id. Doc # 21 at p. 2 (emphasis added). The court then ordered

that Plaintiff file briefs addressing whether she has standing in that case and 27 other cases filed

by Plaintiff Laufer listed in the court’s Exhibit A attached to the Order. Id. Doc # 21 at p. 2.

Subsequent to that, the case was dismissed due to settlement. Id. Doc # 22, 23. Similarly, the

Court here should question Plaintiff’s standing, which in fact does not exist.

                    In New Jersey, The Hon. Renee Marie Bumb issued an Order to Show Cause in 3

very similar cases also brought by a serial ADA plaintiff residing in Florida alleging violations

on defendant’s website reservations system. Hernandez v. Caesars License Co., LLC, Case No.

1:19-cv-06087-RMB-KMW (USDC DNJ), Doc # 4; Hernandez v. Caesars License Co., LLC,

Case No. 1:19-cv-06088-RMB-KMW (USDC DNJ), Doc # 4; Hernandez v. Montego Bay Resort

and Conference Center, Case No. 1:19-cv-06091-RMB-AMD (USDC DNJ), Doc # 4. See

Request for Judicial Notice ISO MTD, Exhibit 2. The Court’s Order could easily be applied to

this case by changing little more than the pronouns involved:




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                          An examination of the facts alleged in the complaints leads
                  this Court to question whether Plaintiff has established that he
                  has suffered an injury in fact. Plaintiff alleges that he “visited the
                  Property’s website for the purpose of reviewing an assessing the
                  accessible features at the Property in order to ascertain whether it
                  meets Plaintiff’s individual disability needs[.]” (Complaints ¶ 30)
                  The complaints do not plead how many times Plaintiff visited each
                  website. Moreover, while Plaintiff pleads a laundry list of
                  “disability accommodations” he was “unable to verify” “whether
                  the Property contain[ed],“ (Complaints ¶ 31), the complaints do
                  not even plead that Plaintiff, who “resides in Miami, Florida,”
                  (Complaints, ¶ 1) has any intention of visiting New Jersey,
                  much less the specific properties identified in the complaints.
                  Rather, Plaintiff merely pleads in conclusory fashion that “Plaintiff
                  intends to revisit Defendant’s or Defendant’s third-party agent’s
                  website and/or online reservation system in order to test it for
                  compliance with 28 C.F.R. § 36.302(e)2 and/or otherwise
                  determine if the site provides enough information for Plaintiff to
                  determine whether the site comes into compliance with the
                  guidelines of the aforementioned law.” (Complaints ¶ 39)

                         Thus, it does not appear that Plaintiff has pled an
                  injury in fact. In this regard, the Court finds this case analogous to
                  Murray v. Lifetime Brands, Inc., No. CV 16-5016, 2017 WL
                  1837855 (D.N.J. May 8, 2017). In that case, as here, the plaintiff’s
                  claim was premised on an “‘unlawful denial of access to
                  information subject to disclosure.’” Id. at *3 (quoting In re:
                  Nickelodian Consumer Privacy Litig., 827 F.3d 262, 273-74 (3d
                  Cir. 2016)). In Murray, Judge Hillman held that the plaintiff had
                  not established an injury in fact, explaining, “[c]ritically, what
                  Murray fails to do, however, is identify the harm that resulted from
                  allegedly not knowing what she asserts the [law] requires
                  [defendant] to tell her.” Id. at *4,

                          In this case, too, Plaintiff fails to plead what actual,
                  concrete harm he suffered, or will continue to suffer, as a result
                  of allegedly being unable to determine whether each property has
                  disability accommodations that meet his needs.




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  The Court notes that 28 C.F.R. § 36.302(e) (1), which Plaintiff cites in his complaints, does not impose a specific
duty on places of public accommodation to include descriptions of disability accommodations on their websites. The
regulation merely requires that a place of public accommodation “[i]dentify and describe accessible features . . . in
enough detail to permit individuals with disabilities to assess independently whether a given hotel or guest room
meets his or her accessibility needs.” 28 C.F.R. § 36.302(e) (1) (ii). The regulation is silent as to where or how a
place of public accommodation must identify and describe its accessible features, and Plaintiff’s complaints are
silent in this regard.


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Hernandez v. Caesars License Co., LLC, Case No. 1:19-cv-06087-RMB-KMW (USDC DNJ),

Doc # 4 at p. 4-5 (emphasis added). The court then ordered that plaintiff show cause “why this

case should not be dismissed for lack of Article III standing.” Id. at p. 6. The defendant

subsequently filed a motion to dismiss much like the present motion, and the court issued an

Order granting defendant’s motion to dismiss for lack of subject matter jurisdiction.

Hernandez v. Caesars License Co., LLC, Case No. 1:19-cv-06087-RMB-KMW (USDC DNJ),

Doc # 25. The same thing occurred in the second case Hernandez v. Caesars License Co., LLC,

Case No. 1:19-cv-06088-RMB-KMW (USDC DNJ), Doc # 24. In the third case, plaintiff filed a

notice of voluntary dismissal, presumably acknowledging the lack of standing and jurisdiction.

Hernandez v. Montego Bay Resort and Conference Center, Case No. 1:19-cv-06091-RMB-AMD

(USDC DNJ), Doc # 5. Here too, the case lacks subject matter jurisdiction and the Complaint

should be dismissed by the Court.

IV.          CONCLUSION

                 Plaintiff lacks standing in this case, and it is respectfully submitted that the Court

accordingly lacks subject matter jurisdiction. This issue has been thoroughly explored by other

courts, including in dozens of cases involving this very Plaintiff, resulting in orders and

dismissals for lack of jurisdiction. Thus, Defendant respectfully requests that the Court dismiss

Plaintiff’s Complaint with prejudice for lack of subject matter jurisdiction as well.




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Dated: August 31, 2020                        Respectfully submitted,


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                                                  Pro Hac Vice Application to be filed


                                   CERTIFICATE OF SERVICE

             The undersigned hereby declares that on this 31st day of August, 2020, a true and

accurate copy of the foregoing was served via the court’s Electronic Case Filing system on all

counsel of record.


                                                      /s/    Michelle M. McGeogh
                                                      Michelle M. McGeogh




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